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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                           UNITED STATES DISTRICT COURT                        September 08, 2017
                            SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                               GALVESTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
VS.                                           §   CR ACTION NO. 3:17-CR-25-1,2,4,5,6,7
                                              §
JOSEPH CHURCH (1)                             §
ANGELA MARKS (2)                              §
NORRIS MOON (4)                               §
CHRISTOPHER WALTON (5)                        §
JAMAAL CRANE (6)                              §
ALISA KIMBLER (7)                             §
                                              §

                                        ORDER


       Pending before the Court are Defendant, Norris Moon’s (4) Unopposed Motion to

Continue (Dkt. 82) and Defendant, Jamaal Crane’s(6) Unopposed Motion for

Continuance (Dkt. 83) to which co-defendants Joseph Church (1), Angela Marks (2),

Christopher Walton(5), and Alisa Kimber (7) are unopposed. In accordance with 18

U.S.C. ' 3161, the basis for the continuance is the finding that the ends of justice served

in granting such continuance outweigh the best interests of the public and the Defendants

in a speedy trial.

       The Court finds that, pursuant to 18 U.S.C. ' 3161, a failure to grant continuance

in this case would deny counsel for the Defendants the reasonable time necessary for

effective preparation taking into account the exercise of due diligence and would thereby

result in a miscarriage of justice for the Defendants.

       The Defendants recites that there has been inadequate time to sufficiently prepare

for trial.   Denial of the reasonable time necessary for effective trial preparation is


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expressly enunciated in 18 U.S.C. ' 3161 as a factor in determining that a continuance in

the ends of justice would outweigh the public's interest in a speedy trial.

       IT IS HEREBY ORDERED that the Defendants’ motions for continuance are

GRANTED. A period of excludable delay shall commence from today, September 8,

2017, pursuant to 18 U.S.C. ' 3161, and December 18, 2017. It is further ORDERED

that the scheduling order is amended as follows:

       November 27, 2017    ALL MOTIONS will be filed no later than this date.

       December 4, 2017     RESPONSES to motions will be filed no later than this date.

       December 14, 2017    PRETRIAL CONFERENCE before Judge George C. Hanks,
       10:00 a.m            Jr.; 601 Rosenberg 6th Floor Courtroom Galveston, Texas.
                            DEFENDANTS MUST BE PRESENT

       December 18, 2017    JURY TRIAL
       8:30 a.m.

       SIGNED at Galveston, Texas, this 8th day of September, 2017.


                                              ___________________________________
                                              George C. Hanks Jr.
                                              United States District Judge




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